                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                                              )
               v.                             ) Criminal Action No. 23-mj-00274-MN
                                              ) Criminal Action No. 23-cr-00061-MN
ROBERT HUNTER BIDEN,                          )
                                              )
                      Defendant.              )
                                              )


               DEFENDANT’S RESPONSE TO MOTION TO WITHDRAW

       Defendant Robert Hunter Biden, by and through his undersigned counsel, submits this

response to the Motion for Leave to Withdraw as Counsel filed by Christopher J. Clark (D.I. 31,

Case No. 1:23-cr-00061-MN; D.I. 38, Case No. 1:23-mj-00274-MN).

       Mr. Biden consents to Mr. Clark’s withdrawal and agrees that withdrawal will not cause a

substantial hardship to him.

 Dated: August 16, 2023                   Respectfully submitted,

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